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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust                   Court File No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:
                                                       STIPULATION TO RESERVE
Residential Funding Company, LLC v.                         JURISDICTION
Americash, No. 13-cv-3460


         On June 14, 2016, the parties settled the above-captioned action with the

assistance of Retired Magistrate Judge Keyes.

         The parties subsequently notified the Court of their settlement.

         On August 15, 2016, the Court entered an Order (Doc. 1726) (the “Order”) in the

above-captioned action, dismissing this action without prejudice.

         Pursuant to the Order, the Court reserved jurisdiction for sixty days to permit any

party to move to reopen the action, for good cause shown, or to submit and file a

stipulated form of final judgment.

         The parties are still negotiating the terms of the written Settlement and Release

Agreement (the “Settlement Agreement) and request 30 additional days to finalize same

before the above-captioned action can be finally dismissed.

         The parties, by and through their undersigned counsel, hereby stipulate that the

Court should amend the Order to extend the period of time that the Court reserves

jurisdiction to November 13, 2016.



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Dated: October 13, 2016

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